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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION


 ROBERT W. CRENSHAW,

                        Plaintiff,


 vs.                                      Case No.    2:03-cv-134-FtM-29SPC


 ROBERT LISTER; EMMITT MERRITT, RICK
 CHANDLER, WILLIAM CLEMENT, in his
 individual capacity, JOHN DAVENPORT,
 in his official capacity, FAWCETT
 HOSPITAL, Charlotte County, Florida,
 SANDY OLIVO, STEVE WINDISH,

                     Defendants.
 ___________________________________


                             OPINION AND ORDER

       This matter comes before the Court on the following motions

 filed on December 11, 2006: (1) Defendant Steve Windish’s Motion to

 Dismiss   Amended   Complaint   (Doc.    #175);     (2)   Defendant   Sheriff

 Davenport’s Motion to Dismiss Amended Complaint (Doc. #176); and

 (3) Defendant Fawcett Memorial Hospital’s Motion to Dismiss Amended

 Complaint and Motion to Strike Punitive Damages (Doc. #178).

 Plaintiff Robert Crenshaw filed a response (Doc. #199) on May 16,

 2007, only as to the Sheriff’s Motion to Dismiss.

                                      I

       In deciding a Rule 12(b)(6) motion to dismiss, the Court must

 accept all factual allegations in a complaint as true and take them

 in the light most favorable to plaintiff.           Erickson v. Pardus, 127
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 S. Ct. 2197, (2007); Christopher v. Harbury, 536 U.S. 403, 406

 (2002).    To satisfy the pleading requirements of Federal Rule of

 Civil Procedure 8, a complaint must contain a short and plain

 statement showing an entitlement to relief, and the statement must

 “give the defendant fair notice of what the plaintiff’s claim is

 and the grounds upon which it rests.” Swierkiewicz v. Sorema N.A.,

 534 U.S. 506, 512 (2002)(citing FED . R. CIV . P. 8).          See also Bell

 Atl. Corp. v. Twombly, 127 S. Ct. 1955, 1964, 2007 U.S. LEXIS 5901,

 *21 (May 21, 2007)(citations omitted); Erickson v. Pardus, 2007 WL

 at *3; Dura Pharm., Inc. v. Broudo, 544 U.S. 336, 346 (2005).

 “While a complaint attacked by a Rule 12(b)(6) motion to dismiss

 does not need detailed factual allegations, [ ] a plaintiff's

 obligation to provide the ‘grounds’ of his ‘entitlement to relief’

 requires   more   than   labels   and     conclusions,   and    a   formulaic

 recitation of the elements of a cause of action will not do.”           Bell

 Atl. Corp. v. Twombly, 127 S. Ct. at 1964-65 (citations omitted).

 “Factual allegations must be enough to raise a right to relief

 above the speculative level on the assumption that all of the

 complaint’s allegations are true.”          Id. at 1965.   Plaintiff must

 plead enough facts to state a plausible basis for the claim.             Id.

 Dismissal is warranted under FED . R. CIV . P.     12(b)(6) if, assuming

 the truth of the factual allegations of plaintiff’s complaint,

 there is a dispositive legal issue which precludes relief. Neitzke




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 v. Williams, 490 U.S. 319, 326 (1989); Brown v. Crawford County,

 Ga., 960 F.2d 1002, 1009-10 (11th Cir. 1992).

      The Court must limit its consideration to well-pleaded factual

 allegations, documents central to or referenced in the complaint,

 and matters judicially noticed.          La Grasta v. First Union Sec.,

 Inc., 358 F.3d 840, 845 (11th Cir. 2004).         The Court may consider

 documents which are central to plaintiff’s claim whose authenticity

 is not challenged, whether the document is physically attached to

 the complaint or not, without converting the motion into one for

 summary judgment.     Day v. Taylor, 400 F.3d 1272, 1276 (11th Cir.

 2005); Maxcess, Inc. v. Lucent Techs., Inc., 433 F.3d 1337, 1340

 n.3 (11th Cir. 2005).

                                     II

      On   October    17,   2005,    Plaintiff,    an   inmate     currently

 incarcerated in the Florida penal system and proceeding pro se,

 filed a fifteen-count amended civil rights complaint pursuant to 42

 U.S.C. § 1983 (Doc. #112)(the “Amended Complaint”).             The Amended

 Complaint relates to events that occurred during and subsequent to

 plaintiff’s arrest, but prior to his conviction.         Plaintiff names,

 inter alia, defendant Stephen Windish, a Charlotte County deputy

 sheriff, Charlotte County Sheriff Davenport, and Fawcett Memorial

 Hospital (hereinafter ‘Fawcett Memorial’).

      The Amended Complaint recounts that on November 28, 2001,

 after an incident of armed robbery, plaintiff was attacked by a


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 police canine in his attempt to surrender to the local authorities

 and   as   a   result    suffered   injuries.    Plaintiff   alleges    that

 defendant Windish intentionally prevented him from being treated by

 medical personnel at the scene of the arrest by removing him from

 the ambulance prior to the treatment of his injuries.              Defendant

 Windish then placed plaintiff in a patrol vehicle for over one hour

 prior to transporting him to Fawcett Memorial for treatment. (Doc.

 #112, p. 6.)      Count III alleges that defendant Windish’s conduct

 violated plaintiff’s Eight Amendment right to medical care by

 removing him from the ambulance before treatment of all injuries

 and detaining him in defendant’s vehicle for an extended period of

 time prior to his transport to the hospital.          Count X alleges that

 defendant Windish violated plaintiff’s right to due process under

 the Fifth Amendment by failing to follow established policies to

 ensure immediate medical care.

       Upon     arrival   at   Fawcett    Memorial,   plaintiff’s   multiple

 injuries were photographed, but he was only treated for injuries to

 his legs. Plaintiff further alleges that “Fawcett Hospital, acting

 as the primary care facility for the Charlotte County Sheriff’s

 Office [(CCSO)], and being under contract for such care . . .

 concede[d] authority to the CCSO to remove plaintiff before medical

 care was provided for all injuries.”            (Doc. #112, p. 14.)     The

 Amended Complaint goes on to allege that “from plaintiff’s injuries

 it was apparent that the plaintiff was not completely ambulatory



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 due to his injuries, yet defendant Fawcett Hospital failed to

 provide prescription for either a wheelchair or crutches and failed

 to   advise   the   sheriff’s     office   of   plaintiff’s    restrictive

 abilities, thereby permitting the other defendants to make medical

 determinations as to plaintiff’s ability to ambulate.”          Id.   Count

 VIII alleges Fawcett Memorial violated plaintiff’s Eighth Amendment

 rights by failing to treat all of plaintiff’s injuries. Additional

 facts are set forth below as needed.

                                     III

      Title 42 U.S.C. § 1983 imposes liability on any person who,

 under color of state law, deprives a person “of any rights,

 privileges, or immunities secured by the Constitution and laws.”

 To establish a claim under 42 U.S.C. § 1983, plaintiff must prove

 that (1) defendants deprived him of a right secured under the

 Constitution or federal law, and (2) such deprivation occurred

 under color of state law.       Arrington v. Cobb County, 139 F.3d 865,

 872 (11th Cir. 1998); U.S. Steel, LLC v. Tieco, Inc., 261 F.3d

 1275, 1288 (11th Cir.), reh’g and reh’g en banc denied, 277 F.3d

 1381 (11th Cir. 2001).      In addition, plaintiff must establish an

 affirmative causal connection between the defendant’s conduct and

 the constitutional deprivation.       Marsh, 268 F.3d at 1059; Swint v.

 City of Wadley, Ala., 51 F.3d 988 (11th Cir. 1995); Tittle v.

 Jefferson County Comm'n, 10 F.3d 1535, 1541 n.1 (11th Cir. 1994).




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 A.   Defendant Windish’s Motion to Dismiss (Doc. #175)

      Plaintiff sues defendant Windish in both his official and

 individual     capacities.    However,     plaintiff   also   sues   Sheriff

 Davenport in his official capacity.          It is well settled that an

 official capacity suit is essentially a suit against the entity,

 and is redundant where the entity or its representative is a party

 to the suit.     McMillian v. Monroe County, 520 U.S. 781, 785 n.2

 (1997); Kentucky v. Graham, 473         U.S. 159, 165 (1985); Cooper v.

 Dillon, 403 F.3d 1208, 1221 n.8 (11th Cir. 2005); Busby v. City of

 Orlando, 931 F.2d 764, 776 (11th Cir. 1991).             Accordingly, the

 official capacity claim against defendant Windish will be dismissed

 with prejudice.

      Defendant Windish contends that the Amended Complaint should

 be dismissed for failure to state a claim.             Defendant Windish

 argues that in order sustain a Section 1983 action against someone

 in their individual capacity, the plaintiff must establish that the

 individual was the particular person who violated plaintiff’s

 constitutional rights. (Doc. #175, p. 4.) Defendant Windish filed

 an affidavit in support of his motion, which in short asserts that

 he was not present at the scene of the apprehension and that his

 only involvement with plaintiff was the execution of an arrest

 warrant   at    the   sheriff’s   office    and   plaintiff’s   subsequent

 transport to jail.     (Doc. #175-2.)     Based on the affidavit, Windish

 asks this Court to dismiss the case against him.



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      Defendant Windish relies on matters outside the four corners

 of the Amended Complaint and not referenced therein.            Therefore,

 the Court cannot consider such a filing on a motion to dismiss

 without treating the motion as one for summary judgment.          See Fed.

 R. Civ. P. 12(c) and 56.      Therefore, the Court will not consider

 defendant Windish’s affidavit.

      As a pretrial detainee, plaintiff had no Eighth Amendment

 rights.    “In the case of a pre-trial detainee . . . the Eighth

 Amendment prohibitions against cruel and unusual punishment do not

 apply.”   Cook v. Sheriff of Monroe County, Fla., 402 F.3d 1092,

 1115 (11th Cir. 2005)(citation and quotation omitted).             Rather,

 plaintiff’s right against cruel and unusual punishment as a pre-

 trial detainee is premised on the due process clause of the

 Fourteenth Amendment.     Cook, 402 F.3d at 1115.     See also Purcell v.

 Toombs County, Ga., 400 F.3d 1313, 1318 n.13 (11th Cir. 2005);

 Wilson v. Blankenship, 163 F.3d 1284, 1291 (11th Cir. 1998).           This

 pleading defect is inconsequential, however, because the legal

 standards under the Eighth Amendment and the Fourteenth Amendment

 due process clause are the same, and the Eighth Amendment case law

 is applicable.    Cook, 402 F.3d at 1115; Taylor v. Adams, 221 F.3d

 1254, 1257 n.3 (11th Cir. 2000); Lancaster v. Monroe County, Ala.,

 116 F.3d 1419, 1425, n.6 (11th Cir. 1997).               “Thus, pretrial

 detainees . . . plainly have a Fourteenth Amendment due process




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 right to receive medical treatment for illness and injuries, . . .”

 Cook, 402 F.3d at 1115.

       The applicable legal standards are well-established.                    “An

 officer violates a detainee’s Fourteenth Amendment right to due

 process if he acts with deliberate indifference to the serious

 medical needs of the detainee.”        Crosby v. Monroe County, 394 F.3d

 1328, 1335 (11th Cir. 2004)(quoting Lancaster, 116 F.3d at 1425).

 To   show   deliberate   indifference       to   a    serious   medical      need,

 plaintiffs must establish both an objective and a subjective prong.

 Plaintiff must first prove an objectively serious medical need,

 then he must prove that the jail official acted with an attitude of

 deliberate indifference to that need.            Bozeman v. Orum, 422 F.3d

 1265, 1272 (11th Cir. 2005); Brown v. Johnson, 387 F.3d 1344, 1351

 (11th Cir. 2004); Farrow v. West, 320 F.3d 1235, 1243 (11th Cir.

 2003).   A “serious medical need” is one that has been diagnosed by

 a physician as mandating treatment or one that is so obvious that

 even a lay person would easily recognize the necessity for a

 doctor’s attention, and, in either case, must be one that if left

 unattended poses a substantial risk of serious harm.                   Brown, 387

 F.3d at 1351; Farrow, 320 F.3d at 1243.              To establish “deliberate

 indifference,” plaintiffs must prove (1) subjective knowledge of a

 risk of serious harm; (2) disregard of that risk; and (3) by

 conduct that is more than mere negligence.              Bozeman, 422 F.3d at

 1272;    Brown,   387   F.3d   at   1351;   Farrow,      320    F.3d    at   1245.



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 Inadvertent or negligent failure to provide adequate medical care

 does not rise to a constitutional violation.               Farrow, 320 F.3d at

 1243.

        Viewing all factual allegations in the Amended Complaint as

 true, the Court finds that plaintiff has failed to adequately state

 a Fourteenth Amendment claim against defendant Windish.                  Plaintiff

 asserts    that   defendant     Windish       interfered    with   his    medical

 treatment by removing him from the ambulance before doctors could

 complete their treatment and then took over an hour to transport

 him to the hospital.         (Doc. #112, ¶16.)       This Circuit recognizes

 that “short of refusal, a government official’s delay in obtaining

 medical treatment for a pretrial detainee’s serious medical needs

 also can form the basis of a Fourteenth Amendment due process

 claim.”    Hill, 40 F.3d at 1187.             However, the Amended Complaint

 lacks any factual allegations indicating that plaintiff’s remaining

 untreated medical needs were serious or that defendant Windish had

 subjective knowledge of such serious medical needs or acted with

 more    than   negligence.      Thus,    the    Court   finds   that     defendant

 Windish’s Motion to Dismiss should be granted as to Plaintiff’s

 Eighth Amendment claim, which the Court construed as a claim under

 the Fourteenth Amendment.

        Plaintiff also brings a claim against defendant Windish under

 the Fifth Amendment.          Specifically, plaintiff asserts that his

 right to due process under the Fifth Amendment was violated by



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 defendant Windidsh’s failure “to follow established policies to

 ensure immediate medical care.”          (Doc. #112, p. 18.)    However, the

 Fifth Amendment applies to actions by the federal government, not

 actions by the state government.          Riley v. Camp, 130 F.3d 958, 972

 n.19 (11th Cir. 1997).          The Court therefore finds that to the

 extent that plaintiff attempts to bring a Fifth Amendment due

 process claim, the Motion to Dismiss is due to be granted.            Even if

 construed as a Fourteenth Amendment due process claim, the motion

 would still be granted for the same reasons as set forth above.

 B.    Defendant Sheriff Davenport’s Motion to Dismiss (Doc. #176)

       Sheriff Davenport is being sued in his official capacity. The

 Amended Complaint alleges that:

       The Policy established by the Sheriff . . . was
       inadequate to protect the rights of plaintiff . . .
       because he failed to ensure compliance and oversight;
       failed to properly supervise and train employees, and
       permitt[ed] the implementation and continued use of an
       unwritten but acceptable policy of deliberate infliction
       of injury to prisoners under his care.

 (Doc. #112, ¶3.)           Count IV charges that the Sheriff violated

 defendant’s       Eighth     Amendment      rights   “through     deliberate

 indifference to plaintiff’s medical need by refusing to enforce

 policy    which    required     immediate     medical   care    for   injured

 prisoners.”    (Doc. #112, p. 16.) The Amended Complaint goes on to

 allege that the sheriff violated plaintiff’s rights against cruel

 and unusual punishment under the Eighth Amendment by: (1) failing

 to enforce department policies relating to medical treatment of



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 injured    prisoners     (Count   XIII);      and   (2)   failing      to   alter   a

 defective policy which provided no requirement of taped or recorded

 interrogations, and failed to provide oversight, supervision or

 training to reduce and eliminate said policy (Count XIV).                       (Doc.

 #112, pp. 19-20.)

       Under § 1983, a governmental entity may not be held liable

 under a theory of respondeat superior, but instead may only be held

 liable    when     its   "official     policy"      causes     a   constitutional

 violation.       Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 694

 (1978). Plaintiff can establish the requisite “official policy” in

 one of two ways: (1) identifying an officially promulgated policy,

 or (2) identifying an unofficial custom or practice shown through

 the repeated acts of the final policymaker of the entity.                   Grech v.

 Clayton County, Ga., 335 F.3d 1326, 1320-30 (11th Cir. 2003).

 Plaintiff must identify the policy or custom which caused his

 injury so that liability will not be based upon an isolated

 incident,    McDowell    v.   Brown,    392    F.3d   1283,     1290    (11th   Cir.

 2004)(citations omitted), and the policy or custom must be the

 moving force of the constitutional violation.                  Grech, 335 F.3d at

 1330.    See also Board of County Comm’rs v. Brown, 520 U.S. 397, 403

 (1997); Gold v. City of Miami, 151 F.3d 1346, 1350 (11th Cir.

 1998).

       Here   the    Amended   Complaint       alludes     to    two    departmental

 policies relating to the treatment of injured prisoners and to the



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 taping of interrogations.            The Court interprets plaintiff’s claim

 as   one   arising    under    the    Fourteenth    Amendment.       The   Amended

 Complaint does not allege that the two identified policies were the

 “moving     force”     behind    the      alleged    federal     constitutional

 violations. As such, the Court finds that the Amended Complaint is

 not sufficiently pled.         Therefore the Sheriff’s Motion to Dismiss

 is granted.

 C.    Defendant Fawcett Memorial’s Motion to Dismiss (Doc. #178)

       Defendant      Fawcett    Memorial    argues   that:     (1)   the   Amended

 Complaint constitutes a shotgun pleading; (2) plaintiff has not

 alleged any facts that would support a violation of plaintiff’s

 Eighth Amendment rights; (3) plaintiff has failed to allege that

 Fawcett Memorial was acting under the color of state law, and (4)

 plaintiff has not alleged a violation of a custom, policy, or

 procedure.

       A § 1983 claim requires plaintiff to show that the conduct was

 committed by a person acting under the color of state law at the

 relevant time.       Loren v. Sasser, 309 F.3d 1296, 1303 (11th Cir.

 2002), cert. denied, 538 U.S. 1057 (2003).             “Like the state-action

 requirement of the Fourteenth Amendment, the under-color-of-state-

 law element of § 1983 excludes from its reach merely private

 conduct, no matter how discriminatory or wrongful.”                  Focus on the

 Family v. Pinellas Suncoast Transit Auth., 344 F.3d 1263, 1276-1277

 (11th Cir. 2003)(quoting American Mfrs. Mut. Ins. Co. v. Sullivan,



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 526   U.S.     40,    49-50       (1999)(internal          punctuation   and    citations

 omitted)).      A private person may be viewed as a state actor under

 certain      circumstances.              Focus   on    Family,     344   F.3d    at     1277

 (recognizing three tests used to determine whether person was state

 actor).       Action is considered to be under color of state law if

 there is such a close nexus between the State and the challenged

 action that seemingly private behavior may be fairly attributed to

 the State.       Brentwood Acad. v. Tennessee Secondary Sch. Athletic

 Ass’n, 531 U.S. 288, 295 (2001).                 The Supreme Court has stated that

 “[w]hat is fairly attributable is a matter of normative judgment,

 and the criteria lack rigid simplicity.” Brentwood Acad., 531 U.S.

 at 295.       The Supreme Court further noted that “no one fact can

 function as a necessary condition across the board for finding

 state       action;    nor        is   any    set     of    circumstances      absolutely

 sufficient, . . .”                 Id.       Rather, the       Supreme Court’s prior

 decisions have “identified a host of facts that can bear on the

 fairness of such an attribution.”                    Id. at 296.      The determination

 of    whether    there       is    action     under    color     of   state     law   is   a

 “necessarily fact-bound inquiry.”                    Id. at 298 (citation omitted).

        At    this     stage       of   the   proceedings,       the   Court     views    all

 allegations in the Amended Complaint in favor of the plaintiff.

 The Court finds that the alleged contractual relationship between

 Fawcett Memorial and the Charlotte County Sheriff's Office (Doc.

 #112, p. 14) is sufficient to allege action under color of state



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 law at the pleading stage.      See Farrow v. West, 320 F.3d 1235, 1239

 n.3 (11th Cir. 2003)(private physician under contract with state to

 provide medical care to inmate acts under color of state law for §

 1983 purposes); Ancata v. Prison Health Servs., Inc., 769 F.2d 700,

 703 (11th Cir. 1985)(collecting cases finding state action is

 present when a private entity takes on a traditionally governmental

 role).       It is not surprising that plaintiff has failed to attach a

 copy of the contract, and the existence and details of the contract

 can be established in discovery.           The Court finds that plaintiff

 has sufficiently plead that Fawcett Memorial acted under color of

 state law.

        Fawcett Memorial also asserts that the Amended Complaint must

 be dismissed because it fails to allege a violation of custom or

 policy which was the moving force behind plaintiff’s constitutional

 deprivations.       Fawcett Memorial in essence seeks to be treated as

 a governmental entity in this regard.         Monell1 has been extended to

 private corporations, Harvey v. Harvey, 949 F.2d 1127, 1129 (11th

 Cir. 1992), and therefore Fawcett Memorial cannot be held liable

 under a theory of respondent superior.           Ancata, 769 F.2d at 705

 n.8.        Plaintiff has failed to allege a violation of a policy,

 custom, or procedure that was the moving force behind the alleged




        1
            Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 694 (1978).


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 constitutional violation.2 Therefore, Fawcett Memorial’s Motion to

 Dismiss is granted.       Fawcett Memorial also asks this Court to

 strike plaintiff’s demand for punitive damages.            (Doc. #178, p.

 21.)       However, the Court finds no need to address this issue at

 this time because of its ruling on the various motions.

 D.     Plaintiff’s Response to Sheriff’s Motion to Dismiss (Doc. #
        199)

        Plaintiff filed a response only as to Sheriff Davenport’s

 Motion to Dismiss.       In his response, Plaintiff concedes that he

 should be proceeding under the Fourth and Fourteenth Amendments.

 The response asks this Court to either deny the Motion to Dismiss

 or in the alternative to allow the amendment of the complaint.

 (Doc. #199, p. 4.)     The Court will construe plaintiff’s response as

 a Motion for Leave to Amend the Complaint.

        Under Fed. R. Civ. P. 15(a), a party may amend a Complaint

 only by leave of court or by consent of opposing parties, and

 “leave shall be freely given when justice so requires,” after a

 responsive pleading has been filed.        Reasons such as “undue delay,

 bad faith or dilatory motive on the part of the movant, repeated

 failure to cure deficiencies by amendments previously allowed,


        2
       The Court would note that plaintiff has not alleged a
 permanent or lasting injury, and mere negligence or malpractice
 does not rise to the level of a constitutional violation, Harris v.
 Thigpen, 941 F.2d 1495, 1505 (11th Cir. 1991). Defendant’s actions
 must “shock the conscience,” Lumley v. City of Dade City, Fla., 327
 F.3d 1186, 1196 (11th Cir. 2003). See also Redd v. Conway, 2005 WL
 3528932 (11th Cir. Dec. 22, 2005)(citations omitted).


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 undue prejudice to the opposing party by virtue of allowance of the

 amendment, [or] futility” are a proper basis to deny plaintiff’s

 motion.    See Foman v. Davis, 371 U.S. 178, 182 (1962).

       In the present case, only defendants Lister and Meritt have

 filed answers to the Amended Complaint.               (Doc. ## 123, 124.)      The

 Court finds that justice requires that plaintiff be granted leave

 to file an amended complaint.              While the Court recognizes that

 Lister and Meritt have already filed answers, the claims against

 them cannot be legally sustained under the Eighth Amendment as

 discussed    above.      There      will   be   no    prejudice    to   any   other

 defendants,      as   they   will    have     an     opportunity   to   file   new

 dispositive motions, if appropriate, and answers.

       Accordingly, it is now

       ORDERED:

       1.    Defendant Windish’s Motion to Dismiss (Doc. #175) is

 granted.

       2.    Defendant Sheriff Davenport’s Motion to Dismiss (Doc. #

 176) is granted.

       3.    Defendant Fawcett Memorial Hospital’s Motion to Dismiss

 (Doc. #178) is granted.

       4.    Plaintiff may file a “Second Amended Complaint” within

 thirty (30) days        asserting a Fourth and Fourteenth Amendment

 claims.     If Plaintiff does not file a “Second Amended Complaint”

 within the time provided, judgment will be entered on the Amended


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 Complaint and the case closed.

       DONE AND ORDERED at Fort Myers, Florida, this            25    day of

 June, 2007.




 Copies: Counsel of record




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